Case 1:22-cv-01466-MN Document 88 Filed 09/08/23 Page 1 of 22 PageID #: 4756




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                          )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         )      C.A. No. 22-1466 (MN)
                                                  )
TESLA, INC.,                                      )
                                                  )
                      Defendant.                  )

             NOTICE OF THIRD-PARTY SUBPOENAS FOR DOCUMENTS

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, the attached subpoenas (Exhibits 1-2) will be served by counsel for Defendant Tesla,

Inc. on Electronic Arts Inc. and Take-Two Interactive Software, Inc., respectively.

                                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP
OF COUNSEL:
                                                      /s/ Brian P. Egan
Anish Desai
Ian Moore                                             Jack B. Blumenfeld (#1014)
WEIL, GOTSHAL & MANGES LLP                            Brian P. Egan (#6227)
767 Fifth Avenue                                      1201 North Market Street
New York, NY 10153-0119                               P.O. Box 1347
(212) 310-8000                                        Wilmington, DE 19899
                                                      (302) 658-9200
Christopher Pepe                                      jblumenfeld@morrisnichols.com
Matthew D. Sieger                                     began@morrisnichols.com
Eric C. Westerhold
Allison Herzig                                        Attorneys for Defendant Tesla, Inc.
WEIL, GOTSHAL & MANGES LLP
2001 M Street, NW, Suite 600
Washington, DC 20036
(202) 682-7000

Adrian C. Percer
WEIL, GOTSHAL & MANGES LLP
201 Redwood Shores Parkway
Redwood Shores, CA 94065-1175
(650) 802-3000

September 8, 2023
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                       EXHIBIT 1
          Case 1:22-cv-01466-MN Document 88 Filed 09/08/23 Page 3 of 22 PageID #: 4758
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
              AUTONOMOUS DEVICES, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-1466 (MN)
                                                                              )
                           TESLA, INC.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                            Electronic Arts Inc.
To:                                         209 Redwood Shores Parkway, Redwood City, CA 94065
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A.

 Place:                                                                                 Date and Time:
          Weil, Gotshal & Manges LLP, 201 Redwood Shores
          Parkway, Redwood Shores, CA 94065                                                                  09/22/2023

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         09/08/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Anish R. Desai
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Tesla, Inc.
                                                                        , who issues or requests this subpoena, are:
Anish R. Desai; Weil, Gotshal & Manges, 767 Fifth Ave., New York, NY 10153
anish.desai@weil.com; (212) 310-8730

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
            Case 1:22-cv-01466-MN Document 88 Filed 09/08/23 Page 4 of 22 PageID #: 4759
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-1466 (MN)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
          Case 1:22-cv-01466-MN Document 88 Filed 09/08/23 Page 5 of 22 PageID #: 4760
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         ATTACHMENT A

        Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendant Tesla, Inc. requests

that The Codemasters Software Company Limited produce the following documents and things to

the Defendant’s counsel, Weil, Gotshal & Manges LLP, 201 Redwood Shores Parkway, Redwood

Shores, CA 94065, within fourteen (14) days of service hereof.

        The following definitions and instructions apply to the requests for production below and

should be considered as part of each such request for production.

                                          DEFINITIONS

        1.        “EA,” “You,” or “Your” means Electronic Arts, Inc., and each of its officers,

directors, members, managers, agents, consultants, contractors, employees, attorneys, accountants,

partners, corporate parents, subsidiaries, including The Codemasters Software Company Limited,

affiliates, divisions, predecessors-in-interest, or successors-in-interest and any person or entity,

past or present, acting on its behalf.

        2.        “Codemasters Software” means any software and/or video games developed by

EA’s wholly owned subsidiary, The Codemasters Software Company Limited, including, for

example, Colin McRae Rally 2.0, Colin McRae Rally 3, Colin McRae Rally 04, Colin McRae

Rally 2005, Colin McRae: Dirt, Colin McRae: Dirt 2, Dirt 3, Dirt: Showdown, Colin McRae Rally,

and Dirt Rally.

        3.        “Autonomous Agent” means any agent, avatar, application, object of an

application, or program within Codemasters Software designed to autonomously navigate its

virtual environment.

        4.        “Autonomous Devices,” “AD,” or “Plaintiff” means Autonomous Devices, LLC,

and each of its officers, directors, members, managers, agents, consultants, contractors, employees,
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attorneys, accountants, partners, corporate parents, subsidiaries, affiliates, divisions, predecessors-

in-interest, or successors-in-interest and any person or entity, past or present, acting on its behalf.

       5.       “Defendant” or “Tesla” means Tesla, Inc.

       6.       “Action” means the above-captioned civil action, Autonomous Devices, LLC, v.

Tesla, Inc., Case No. 22-1466 (MN) in the United States District Court for the District of Delaware.

       7.      “Third Party” or “Third Parties” means any person or entity other than Tesla or

Autonomous Devices.

       8.      “Person” is defined as any natural person or any legal entity, including, without

limitation, any reference to any individual, corporation, proprietorship, association, joint venture,

company, partnership or other business or legal entity.

       9.      “Document” is defined to be synonymous in meaning and equal in scope to the

usage of the term “documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A)

and includes, without limitation, any written, printed, recorded, electronic, or graphic matter that

is or has been in Plaintiffs’ actual or constructive possession or control, regardless of the medium

on which it is produced, reproduced, or stored (whether on paper, cards, charts, files, or printouts;

tapes, discs, belts, video tapes, audiotapes, tape recordings, cassettes, or other types of voice

recording or transcription; computer tapes, databases, e-mails; pictures, photographs, slides, films,

microfilms, motion pictures; or any other medium), and any other tangible item or thing of

readable, recorded, or visual material of whatever nature, including, without limitation, originals,

drafts (sent or unsent), electronic documents with included metadata, and all non-identical copies

of each document (which, by reason of any variation, such as the presence or absence of hand-

written notes or underlining, represent a distinct version).




                                                   2
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       10.     When referring to a person, “to identify” means to provide, to the extent known,

the person’s full name, present or last known address, and when referring to a natural person,

additionally, the present or last known place of employment. Once a person has been identified in

accordance with this subparagraph, only the name of that person need be listed in response to

subsequent discovery requesting the identification of that person.

       11.     When referring to documents, “to identify” means to provide, to the extent known,

the document’s date of creation, bates number, storage location, and custodian, as well as the

nature of and a summary of the relevant information contained within the identified document.

       12.     “Communication” means the transmittal of information (in the form of facts, ideas,

inquiries or otherwise) between individuals or companies whether oral, written, electronic, in-

person, telephonically, directly, through an intermediary or otherwise.

       13.     “Date” means the exact day, month, and year, if ascertainable, or, if not, the best

approximation thereof.

       14.     “Including” means including without limitation.

       15.     “State” or “describe” means to set forth a complete and detailed statement of all

information (legal and factual), circumstances, events, date, persons and facts that refer to, relate

to, reflect, comprise, or bear upon the matter concerning which information is requested.

       16.     “Refer,” “relate,” “relating,” “respecting,” or “concerning” shall be construed in

the broadest sense to mean information (1) which contains or comprises any representations,

requests, demands, studies, or analyses referred to in these requests, or (2) information which

discusses, mentions, or refers, whether directly or indirectly, to the subject matter of the request.




                                                  3
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        17.     The connectives “and” and “or” shall be construed either conjunctively or

disjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

        18.     The use of the singular form of any word includes the plural and vice versa.

        19.     The present tense includes the past and future tenses, and vice-versa.

                                           INSTRUCTIONS

        1.      In the event that any response is limited or documents called for by a request are

withheld from disclosure on a claim of attorney-client privilege, attorney work product, or any

other privilege or immunity, identify: (a) the type of document (e.g., letter, memorandum, contract,

etc.); (b) its title; (c) its date; (d) its subject matter; (e) the name, address, and employer at the time

of preparation of the individual(s) who authored, drafted, or prepared it; (f) the name, address, and

employer at the time of dissemination of the individual(s) to whom it was directed, circulated, or

copied, or who had access thereto; and (g) the grounds on which the document is being withheld

(e.g., “attorney-client privilege,” “work product,” etc.).

        2.      State, for each request, whether or not any documents within the scope of the

request exist and whether any such documents are in your possession, custody, or control.

        3.      As to any portion of the requests that seek documents that were once in your

possession, custody, or control, but which are not now within or subject to you possession, custody,

or control, you are directed to identify such documents in a manner sufficient to describe such

documents for the purpose of preparing and serving a proper subpoena duces tecum, and to give

the name, telephone number, and address of the person last known by you to have been in

possession, custody, or control of such documents.

        4.      If any document, thing, or source of information that is identified in response to a

request has been destroyed or lost or is otherwise missing, state: (a) the date of such destruction or

loss; (b) the reason for such destruction or loss; (c) the identity of the person or persons who




                                                    4
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destroyed or lost the document, thing, or source of information; and (d) the identity of the person

or persons who authorized such destruction.

       5.      You are required to respond to each request set forth below, regardless of whether

the information is possessed by Plaintiff or its respective predecessors, successors, parents,

affiliates, subsidiaries, present and former officers, directors, general partners, limited partners,

trustees, managers, employees, representatives, agents, sub-agents, distributors, attorneys,

attorneys-in-fact, accountants, investigators, advisors, consultants, or any other person acting or

purporting to act, exercising discretion, and/or making decisions on their behalf.

       6.      In the event that you object to any request on the ground that it is vague and/or

ambiguous, identify the particular words, terms, or phrases that are asserted to make such request

vague and/or ambiguous and specify the meaning actually attributed to you by such words for

purposes of your response thereto.


                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

       Documents and Things sufficient to show all versions or variations of Codemasters

Software that include Autonomous Agents released, sold, or demonstrated to a member of the

public prior to Dec. 19, 2016. See, e.g., Applications of Neural-Based Agents in Computer Game

Design, https://www.intechopen.com/chapters/10916 (“In 2001, CodeMasters created the Colin

McRae Rally 2.0 (CMR) racing game for the Sony PlayStation One. The CMR game used neural-

based agents to control the opponent race cars as they drove around the track. The neural-based

agents learned to drive all of the tracks in the game while learning how to maneuver around other

race cars on the tracks.”).




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REQUEST FOR PRODUCTION 2:

       Documents and Things sufficient to describe the software and hardware used to control

Autonomous Agents in Codemasters Software that was released, sold, or demonstrated to a

member of the public prior to Dec. 19, 2016. See, e.g., Applications of Neural-Based Agents in

Computer Game Design, https://www.intechopen.com/chapters/10916 (“In 2001, CodeMasters

created the Colin McRae Rally 2.0 (CMR) racing game for the Sony PlayStation One. The CMR

game used neural-based agents to control the opponent race cars as they drove around the track.

The neural-based agents learned to drive all of the tracks in the game while learning how to

maneuver around other race cars on the tracks.”).

REQUEST FOR PRODUCTION 3:

       Documents and Things sufficient to show when and where Codemasters Software that

included Autonomous Agents was sold or demonstrated to a member of the public prior to Dec.

19, 2016.

REQUEST FOR PRODUCTION 4:

       Documents and Things sufficient to show the design and functionality of the software and

hardware used for any object detection and avoidance functionality for Autonomous Agents in

Codemasters Software that was released, sold, or demonstrated to a member of the public prior to

Dec.    19,   2016.       See,    e.g.,   AI-junkie   Jeff    Hannan   Interview,   http://www.ai-

junkie.com/misc/hannan/hannan.html (“To work out the racing line, you need to take account of

varying width of the track, and any features along the edge, such as corners to cut, or corners to

avoid cutting. Or obstacles, in the case of off-road tracks.”).

REQUEST FOR PRODUCTION 5:

       Documents and Things sufficient to show the design, training, and functionality of artificial

intelligence models and/or neural networks used by Autonomous Agents in Codemasters Software


                                                  6
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that was released, sold, or demonstrated to a member of the public prior to Dec. 19, 2016. See,

e.g., Generation 5 Jeff Hannan Interview https://web.archive.org/web/20080330203633/http:/ww

w.generation5.org/content/2001/hannan.asp (“The neural nets are constructed with the simple aim

of keeping the car to the racing line. They are effectively performing that skill.”); AI-junkie Jeff

Hannan Interview http://www.ai-junkie.com/misc/hannan/hannan.html (“I generated my data by

driving around the tracks, and simply recording the required data. That data was used to derive

both the racing lines, and the training data for the neural networks.”).




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                          EXHIBIT 2
         Case 1:22-cv-01466-MN Document 88 Filed 09/08/23 Page 14 of 22 PageID #: 4769
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Delaware
                                                                             of __________
              AUTONOMOUS DEVICES, LLC
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 22-1466 (MN)
                                                                              )
                           TESLA, INC.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                          Take-Two Interactive Software, Inc., 110 W 44th St, New York, New York, 10036
                                   c/o CT Corporation, 251 Little Falls Drive, New Castle, DE, 19808
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Attachment A.

 Place:                                                                                 Date and Time:
          Weil, Gotshal & Manges, LLP
          767 Fifth Ave., New York NY 10153                                                                  09/22/2023

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         09/08/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                    /s/ Anish R. Desai
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)     Tesla, Inc.
                                                                        , who issues or requests this subpoena, are:
Anish R. Desai; Weil, Gotshal & Manges, 767 Fifth Ave., New York, NY 10153
anish.desai@weil.com; (212) 310-8730

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
         Case 1:22-cv-01466-MN Document 88 Filed 09/08/23 Page 15 of 22 PageID #: 4770
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 22-1466 (MN)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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                                        ATTACHMENT A

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendant Tesla, Inc. requests

that Take-Two Interactive Software, Inc. produce the following documents and things to the

Defendant’s counsel, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, NY 10153,

within fourteen (14) days of service hereof.

       The following definitions and instructions apply to the requests for production below and

should be considered as part of each such request for production.

                                          DEFINITIONS

       1.       “Take-Two,” “You,” or “Your” means Take-Two Interactive Software, Inc., and

each of its officers, directors, members, managers, agents, consultants, contractors, employees,

attorneys, accountants, partners, corporate parents, subsidiaries, affiliates, divisions, predecessors-

in-interest, or successors-in-interest and any person or entity, past or present, acting on its behalf.

       2.      “Take-Two Software” means any software, game engine, and/or video game

developed by Take-Two, including, for example, Rockstar Advanced Game Engine (“RAGE”),

Grand Theft Auto IV, Grand Theft Auto V, Red Dead Redemption, Max Payne 3, Midnight Club:

Los Angeles, Eco Motion, NBA 2K14, NBA 2K15, NBA 2K16, NBA 2K17, WWE 2K15, WWE

2K16, and WWE 2K17.

       3.      “Autonomous Agent” means any agent, avatar, application, object of an

application, or program within Take-Two Software designed to autonomously navigate its virtual

environment.

       4.      “Autonomous Devices,” “AD,” or “Plaintiff” means Autonomous Devices, LLC,

and each of its officers, directors, members, managers, agents, consultants, contractors, employees,

attorneys, accountants, partners, corporate parents, subsidiaries, affiliates, divisions, predecessors-

in-interest, or successors-in-interest and any person or entity, past or present, acting on its behalf.
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       5.       “Defendant” or “Tesla” means Tesla, Inc.

       6.       “Action” means the above-captioned civil action, Autonomous Devices, LLC, v.

Tesla, Inc., Case No. 22-1466 (MN) in the United States District Court for the District of Delaware.

       7.      “Third Party” or “Third Parties” means any person or entity other than Tesla or

Autonomous Devices.

       8.      “Person” is defined as any natural person or any legal entity, including, without

limitation, any reference to any individual, corporation, proprietorship, association, joint venture,

company, partnership or other business or legal entity.

       9.      “Document” is defined to be synonymous in meaning and equal in scope to the

usage of the term “documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A)

and includes, without limitation, any written, printed, recorded, electronic, or graphic matter that

is or has been in Plaintiffs’ actual or constructive possession or control, regardless of the medium

on which it is produced, reproduced, or stored (whether on paper, cards, charts, files, or printouts;

tapes, discs, belts, video tapes, audiotapes, tape recordings, cassettes, or other types of voice

recording or transcription; computer tapes, databases, e-mails; pictures, photographs, slides, films,

microfilms, motion pictures; or any other medium), and any other tangible item or thing of

readable, recorded, or visual material of whatever nature, including, without limitation, originals,

drafts (sent or unsent), electronic documents with included metadata, and all non-identical copies

of each document (which, by reason of any variation, such as the presence or absence of hand-

written notes or underlining, represent a distinct version).

       10.     When referring to a person, “to identify” means to provide, to the extent known,

the person’s full name, present or last known address, and when referring to a natural person,

additionally, the present or last known place of employment. Once a person has been identified in




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accordance with this subparagraph, only the name of that person need be listed in response to

subsequent discovery requesting the identification of that person.

       11.     When referring to documents, “to identify” means to provide, to the extent known,

the document’s date of creation, bates number, storage location, and custodian, as well as the

nature of and a summary of the relevant information contained within the identified document.

       12.     “Communication” means the transmittal of information (in the form of facts, ideas,

inquiries or otherwise) between individuals or companies whether oral, written, electronic, in-

person, telephonically, directly, through an intermediary or otherwise.

       13.     “Date” means the exact day, month, and year, if ascertainable, or, if not, the best

approximation thereof.

       14.     “Including” means including without limitation.

       15.     “State” or “describe” means to set forth a complete and detailed statement of all

information (legal and factual), circumstances, events, date, persons and facts that refer to, relate

to, reflect, comprise, or bear upon the matter concerning which information is requested.

       16.     “Refer,” “relate,” “relating,” “respecting,” or “concerning” shall be construed in

the broadest sense to mean information (1) which contains or comprises any representations,

requests, demands, studies, or analyses referred to in these requests, or (2) information which

discusses, mentions, or refers, whether directly or indirectly, to the subject matter of the request.

       17.     The connectives “and” and “or” shall be construed either conjunctively or

disjunctively as necessary to bring within the scope of the discovery request all responses that

might otherwise be construed to be outside of its scope.

       18.     The use of the singular form of any word includes the plural and vice versa.

       19.     The present tense includes the past and future tenses, and vice-versa.




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                                           INSTRUCTIONS

        1.      In the event that any response is limited or documents called for by a request are

withheld from disclosure on a claim of attorney-client privilege, attorney work product, or any

other privilege or immunity, identify: (a) the type of document (e.g., letter, memorandum, contract,

etc.); (b) its title; (c) its date; (d) its subject matter; (e) the name, address, and employer at the time

of preparation of the individual(s) who authored, drafted, or prepared it; (f) the name, address, and

employer at the time of dissemination of the individual(s) to whom it was directed, circulated, or

copied, or who had access thereto; and (g) the grounds on which the document is being withheld

(e.g., “attorney-client privilege,” “work product,” etc.).

        2.      State, for each request, whether or not any documents within the scope of the

request exist and whether any such documents are in your possession, custody, or control.

        3.      As to any portion of the requests that seek documents that were once in your

possession, custody, or control, but which are not now within or subject to you possession, custody,

or control, you are directed to identify such documents in a manner sufficient to describe such

documents for the purpose of preparing and serving a proper subpoena duces tecum, and to give

the name, telephone number, and address of the person last known by you to have been in

possession, custody, or control of such documents.

        4.      If any document, thing, or source of information that is identified in response to a

request has been destroyed or lost or is otherwise missing, state: (a) the date of such destruction or

loss; (b) the reason for such destruction or loss; (c) the identity of the person or persons who

destroyed or lost the document, thing, or source of information; and (d) the identity of the person

or persons who authorized such destruction.

        5.      You are required to respond to each request set forth below, regardless of whether

the information is possessed by Plaintiff or its respective predecessors, successors, parents,


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affiliates, subsidiaries, present and former officers, directors, general partners, limited partners,

trustees, managers, employees, representatives, agents, sub-agents, distributors, attorneys,

attorneys-in-fact, accountants, investigators, advisors, consultants, or any other person acting or

purporting to act, exercising discretion, and/or making decisions on their behalf.

       6.      In the event that you object to any request on the ground that it is vague and/or

ambiguous, identify the particular words, terms, or phrases that are asserted to make such request

vague and/or ambiguous and specify the meaning actually attributed to you by such words for

purposes of your response thereto.

                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION 1:

       Documents and Things sufficient to show all versions or variations of Take-Two Software

that include Autonomous Agents released, sold, or demonstrated to a member of the public prior

to Dec. 19, 2016. See, e.g., https://web.archive.org/web/20121222215453/https://www.

rockstargames.com/jobs/position/3e1b31310eba5dfe4d6a0db32321f086/rage              (“The    [RAGE]

team develops and supports the engine libraries and tools for graphics, physics, animation,

networking, AI, character behaviors, core systems and other technologies that are used across

Rockstar for Xbox 360, Playstation 3 and PC titles. The RAGE engine drives games such as Red

Dead Redemption, GTA IV and Midnight Club: Los Angeles and upcoming titles such as Max

Payne 3”); https://www.giantbomb.com/eco-motion-engine/3015-9061/ (“ECO-Motion is 2K

Sports next-generation in house animation technology that powers the 2K line of sports games

such as NBA 2K and WWE 2K”).

REQUEST FOR PRODUCTION 2:

       Documents and Things sufficient to describe the software and hardware used to control

Autonomous Agents in Take-Two Software that was released, sold, or demonstrated to a member


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of the public prior to Dec. 19, 2016. See e.g., https://web.archive.org/web/20121222215453

/https://www.rockstargames.com/jobs/position/3e1b31310eba5dfe4d6a0db32321f086/rage

(“RAGE is looking for a versatile programmer to create and tune lower-level character behaviors

and be part of a cross studio behavior engineering group… Develop motor-driven ragdoll

behaviors using the Euphoria ragdoll AI system.”).

REQUEST FOR PRODUCTION 3:

       Documents and Things sufficient to show when and where Take-Two Software that

included Autonomous Agents was sold or demonstrated to a member of the public prior to Dec.

19, 2016.

REQUEST FOR PRODUCTION 4:

       Documents and Things sufficient to show design and functionality of the software and

hardware used for any object detection and avoidance functionality for Autonomous Agents in

Take-Two Software that was released, sold, or demonstrated to a member of the public prior to

Dec. 19, 2016.

REQUEST FOR PRODUCTION 5:

       Documents and Things sufficient to show the design, training, and/or functionality of

artificial intelligence models and/or neural networks used by Autonomous Agents in Take-Two

Software that was released, sold, or demonstrated to a member of the public prior to Dec. 19, 2016.

REQUEST FOR PRODUCTION 6:

       Documents and Things sufficient to show any Take-Two Software sold or used by

members of the public prior to Dec. 19, 2016 that incorporates functionality described in United

States Patent No. 8,142,268 at 3:40-4:2, 4:13-59, 4:60-5:66, and/or 7:45-8:27.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 8, 2023, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 8, 2023, upon the following in the manner indicated:

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